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                           IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF UTAH


 SOCIAL POSITIONING INPUT SYSTEMS,               AUTOMILE, INC.’S MOTION TO DISMISS
 LLC,                                              FOR FAILURE TO STATE A CLAIM

            Plaintiff,                                Case No: 2:21-cv-00523-DBP

 v.                                                    JURY TRIAL DEMANDED

 AUTOMILE, INC.,                                           PATENT CASE

            Defendant.




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            Now comes Defendant Automile, Inc. (“Automile”), by and through counsel, and

 hereby moves this Court, pursuant to Federal Rule of Civil Procedure 12(B)(6), for an Order

 dismissing the Complaint by Plaintiff Social Positioning Input Systems, LLC for failure to
 state a claim upon which relief may be granted. The points and authorities supporting this

 Motion to Dismiss are set forth in the accompanying Memorandum in Support, which is

 being filed contemporaneously with this Motion.




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 I.         NATURE AND STAGE OF PROCEEDINGS

            On September 3, 2021, Social Positioning Input Systems, LLC filed this lawsuit accusing

 Defendant Automile, Inc. (“Automile”) of infringing U.S. Patent No. 9,261,365. In particular, Social

 Positioning accuses Automile’s asset tracking platform of infringement.

 II.        SUMMARY OF THE ARGUMENT

            The claims of the ’365 Patent are directed to the abstract idea of sharing address information.

 But sharing address information is not a technological improvement, an inventive way of applying

 conventional technology, or even new. See Wireless Media Innovations, LLC v. Maher Terminals,

 LLC, 100 F. Supp. 3d 405 (D.N.J. 2015) (finding similar claims directed to the abstract idea of

 “monitoring locations, movement, and load status of shipping containers within a container-

 receiving yard, and storing, reporting and communicating this information in various forms

 through generic computer functions”) (emphasis added).

            The claims of the ’365 Patent are not directed to an improvement in computer functionality.

 Rather, they are directed to “the use of conventional or generic technology in a nascent but well-

 known environment.” In re TLI Commc’ns LLC Patent Litig., 823 F.3d 607, 612, 614 (Fed. Cir.

 2016) (“[H]ere we need to only look to the specification, which describes the [components] as either

 performing basic computer functions such as sending and receiving data, or performing functions

 ‘known’ in the art.”). No particular non-conventional component or programming is either claimed

 or disclosed. Social Positioning’s patent does no more than describe the basic idea of sending and

 receiving information related to addresses without disclosing any novel application of that idea.

            Instead, the approach for sharing address information described in the ’365 Patent may be

 implemented using generic and conventional technology such as “communication protocols or

 systems currently existing . . . for wirelessly transmitting data.” ’365 Patent at 7:4-5. Indeed, the

 ’365 Patent’s specification makes clear that it does not make use of any novel components. Id. at


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 5:67-6:2 (“[s]uch input devices are standard and currently available on many electronic devices

 including portable digital assistants (PDAs) and cellular telephones.”); 6:19-20 (“any other memory

 storage that exists currently”); id. at 7:20-21 (“conventional code encryption algorithms currently in

 use”); id. at 8:10-12 (“identity detection devices such as biometric devices are common and are

 currently widely in use”). Therefore, the ’365 Patent is invalid under 35 U.S.C. § 101 for failure to

 claim patent-eligible subject matter.

            Resolving these issues does not require discovery or formal claim construction. To avoid

 waste of judicial and party resources unnecessarily litigating invalid patents, Automile respectfully

 requests that the Court dismiss the Complaint for failure to state a claim. FED. R. CIV. P. 12(b)(6).

 III.       STATEMENT OF FACTS

            The ’365 Patent, entitled “Device, system and method for remotely entering, storing and

 sharing addresses for a positional information device,” issued on February 16, 2016, from an

 application filed on September 9, 2009. The applicant contends to have identified and solved

 problems associated with GPS devices which store addresses locally. See id. at 1:46-2:25. The patent,

 however, merely implements an abstract idea using conventional components and communication

 systems that were known in the prior art.

            Independent claim 1 of the ’365 patent, which is representative, recites:

            1. A method for receiving location information at a positional information device, the
            method comprising:
                   sending a request from a requesting positional information device to a server
                   for at least one address stored in at least one sending positional information
                   device, the request including a first identifier of the requesting positional
                   information device;
                   receiving at the requesting positional information device, from the server, a
                   retrieved at least one address to the requesting positional information device
                   wherein the server determines a second identifier for identifying the at least
                   one sending positional information device based on the received first
                   identifier and retrieves the requested at least one address stored in the
                   identified at least one sending positional information device.




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 Id. at cl. 1.Claim 1 of the ’365 Patent is directed to a method of sharing addresses. Methods for

 sharing addresses with GPS devices are generically described in the specification. Id. at 8:23-34

 (“system and method for remotely entering, storing and sharing location address information will

 be described”) (emphasis added). The embodiments described in the specification center on sharing

 address information. See id. at 9:29-32 (“[i]n one embodiment, the customer service center includes

 a live operator 303 that has access to server 304 for looking up address information and

 transmitting the information to the device”) (emphasis added). The specification also describes a

 situation in which “[a] driver of a vehicle needs assistance in locating a point of interest such as a

 museum in a designated city.” Id. at 12:27-28. However, the applicant did not provide any technical

 details on how information is shared beyond what was known in the prior art.

            In Claim 1, a requesting positional information device “send[s] a request . . . for at least one

 address” to a server. The request includes “a first identifier” for identifying the requesting positional

 information device. The server obtains the requested address from a “sending positional information

 device.” The sending positional information device is identified by a “second identifier.” The

 positional information devices are understood to be GPS devices. See id. at Abstract (“a positional

 information device, e.g., a global positioning system (GPS) device) (emphasis added). In other

 words, Claim 1 recites a generic technique to establish a communications link between one or more

 devices and transfer information. No technical details are disclosed, much less claimed, as to how

 these processes are accomplished. Claim 1 simply recites generic and well known hardware

 components performing standard functions.




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 IV.        ARGUMENT

            A.     Legal Standard

                   1.      This Case Should Be Disposed of at the Pleading Stage Through Rule
                           12(b)(6).

            Under Rule 12(b)(6), a party may move to dismiss a complaint that fails to state a claim upon

 which relief can be granted. On a Rule 12(b)(6) motion, the court judges “the sufficiency of the

 complaint, accepting as true the well-pleaded factual allegations and drawing all reasonable inferences

 in favor of the plaintiff.” Epic Tech., LLC v. FitNow, Inc., 151 F. Supp. 3d 1245, 1247 (D. Utah 2015)

 (citing Atlantic Richfield Co. v. Farm Credit bank of Wichita, 226 F.3d 113, 1160 (10th Cir. 2000)).

 Although factual allegations are taken as true, legal conclusions are given no deference—those

 matters are left for the court to decide. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (noting tenet

 that allegations are taken as true on a motion to dismiss “is inapplicable to legal conclusions”).

            Patentability under 35 U.S.C. § 101 is a threshold legal issue. Bilski v. Kappos, 561 U.S. 593,

 602 (2010); see also Epic Tech, 151 F. Supp. 3d 1247–48. Accordingly, the § 101 inquiry is properly

 raised at the pleadings stage if it is apparent from the face of the patent that the asserted claims are

 not directed to eligible subject matter. See Ultramercial, Inc. v. Hulu, LLC, 772 F.3d 709, 718-19

 (Fed. Cir. 2014) (Mayer, J., concurring). In those situations, claim construction is not required to

 conduct a § 101 analysis. Bancorp Servs. L.L.C. v. Sun Life Assur. Co., 687 F.3d 1266, 1273 (Fed.

 Cir. 2012) (“[W]e perceive no flaw in the notion that claim construction is not an inviolable

 prerequisite to a validity determination under § 101.”).




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                   2.     The Law of 35 U.S.C. § 101.
            Section 101 of the Patent Act sets forth four categories of patentable subject matter: “any

 new and useful process, machine, manufacture, or composition of matter.” 35 U.S.C. § 101. Also,

 the law recognizes three exceptions to patent eligibility: “laws of nature, physical phenomena, and

 abstract ideas.” Diamond v. Chakrabarty, 447 U.S. 303, 308 (1980) (emphasis added). Abstract

 ideas are ineligible for patent protection because a monopoly over these ideas would preempt their

 use in all fields. See Bilski, 561 U.S. at 611-12. In other words, “abstract intellectual concepts are

 not patentable, as they are the basic tools of scientific and technological work.” Id. at 653 (quoting

 Gottschalk v. Benson, 409 U.S. 63, 67 (1972)).

            Determining whether a patent claim is impermissibly directed to an abstract idea involves

 two steps. First, the court determines “whether the claims at issue are directed to a patent-ineligible

 concept.” Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). Second, if the claim

 contains an abstract idea, the court evaluates whether there is “an ‘inventive concept’—i.e., an

 element or combination of elements that is sufficient to ensure that the patent in practice amounts to

 significantly more than a patent upon the ineligible concept itself.” Id. (internal quotations and

 citations omitted).

            Transformation into a patent-eligible application requires “more than simply stating the

 abstract idea while adding the words ‘apply it.’” Id. at 2357 (quoting Mayo Collaborative Servs. v.

 Prometheus Labs., Inc., 132 S. Ct. 1289, 1294 (2012)). Indeed, if a claim could be performed in the

 human mind, or by a human using pen and paper, it is not patent-eligible. CyberSource Corp. v.

 Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011). Also, a claim is not meaningfully

 limited if it includes only token or insignificant pre- or post-solution activity—such as identifying a

 relevant audience, category of use, field of use, or technological environment. Mayo, 132 S. Ct. at

 1297-98, 1300-01; Bilski, 561 U.S. at 610; Diamond v. Diehr, 450 U.S. 175, 191-92 & n.14 (1981);



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 Parker v. Flook, 437 U.S. 584, 595 n.18 (1978). Finally, “simply appending conventional steps,

 specified at a high level of generality, to laws of nature, natural phenomena, and abstract ideas cannot

 make those laws, phenomena, and ideas patentable.” Mayo, 132 S. Ct. at 1300; see also Fort Props.,

 Inc. v. Am. Master Lease LLC, 671 F.3d 1317, 1323 (Fed. Cir. 2012) (“Such a broad and general

 limitation does not impose meaningful limits on the claim’s scope.”).

            B.     The ’365 Patent is Invalid Under 35 U.S.C. § 101.

            Social Positioning’s Complaint should be dismissed. The claims of the ’365 Patent are invalid

 under 35 U.S.C. § 101 because they fail both prongs of the Alice test. Each of the claims is directed

 to the abstract idea of sharing address information. Abstract ideas are not eligible for patenting. None

 of the claims contains an “inventive concept sufficient to ensure that the patent in practice amounts

 to significantly more than a patent upon the ineligible concept itself.” See Alice, 134 S. Ct. at 2355

 (emphasis added). Because Social Positioning has failed to state a claim upon which relief may be

 granted, Automile respectfully requests that the Court grant its motion and dismiss this case with

 prejudice. FED. R. CIV. P. 12(b)(6).

                   1.      Alice Step 1: The claims are directed to an abstract idea.

            In determining patent eligibility under § 101, the Court must first determine whether the

 claims are directed to an abstract idea. Alice, 134 S. Ct. at 2355. Under any plausible reading, the

 claims of the ’365 Patent are directed to an unpatentable, abstract idea because they claim nothing

 more than the “longstanding,” “routine,” and “conventional” concept of sharing address information.

 See Alice, 134 S. Ct. at 2356; Bilski, 561 U.S. at 611.


                           (a)    The ’365 Patent is directed to the abstract idea of sharing
                                  address information.




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            Claim 1 of the ’365 Patent is directed to the abstract idea of sharing address information. 1

 Stripped of its generic terminology, the claim conceivably could cover any generic process of sharing

 address information. This is especially true given the purely functional nature of the claim language.

 For example, Claim 1 could cover the following scenario: (1) requesting an address from another

 device via a server (e.g., calling friend Alice to ask for friend Bob’s address); and then (2) receiving

 address information from the other device via the server (e.g., Alice providing Bob’s address). Such

 a broad concept is not patent eligible because it “recite[s] an abstraction—an idea, having no

 particular concrete or tangible form.” Ultramercial, 772 F.3d at 715.

            Furthermore, the applicant’s purported invention is not limited to any particular

 implementation. ’365 Patent at 4:16-20 (“it is to be understood the principles of the present

 disclosure may be applied to any type of navigation or positional information device including but

 not limited to a vehicle-mounted device, a GPS receiver coupled to a desktop computer or laptop,

 etc”); id. at 9:25-29 (“Once connected to the customer service center, the user can communicate with

 the customer service center with voice communications or with a vehicle user interface (VUI)

 including but not limited to keyboard, voice recognition, or mouse or pointer”) (emphasis added)).

 The specification, coupled with the broad functional language in Claim 1, confirms that Social

 Positioning’s claims do not describe how to implement the allegedly claimed system, much less how

 to do so in any non-conventional manner. See Internet Patents Corp. v. Active Network, Inc., 790

 F.3d 1343, 1348 (Fed. Cir. 2015) (concluding that claim not directed to patent-eligible subject matter




 1
  Asserted Claim 1 of the ’365 Patent is representative of all claims. See, e.g., Phoenix Licensing, L.L.C. v. Consumer
 Cellular, Inc., No. 2:16-cv-152-JRG-RSP, 2017 WL 1065938, at *8-9 (E.D. Tex. Mar. 8, 2017) (invalidating 974 claims
 after analyzing only a few “representative claims” where the other claims were “substantially similar” and “linked to the
 same abstract idea.”).Where claims are “substantially similar and linked to the same abstract idea,” courts may look to
 representative claims in a § 101 analysis. Content Extraction and Transmission LLC v. Wells Fargo Bank, Nat’l Ass’n,
 776 F.3d 1343, 1349 (Fed. Cir. 2014).

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 where “[t]he mechanism for maintaining the state is not described, although this is stated to be the

 essential innovation”).

            Additionally, the applicant’s own characterizations demonstrate that the claimed components

 do not “improve the functioning of the computer itself,” Alice, 134 S. Ct. at 2359, for example by

 disclosing an “improved, particularized method of digital data compression,” DDR Holdings, LLC

 v. Hotels.com, L.P., 773 F.3d 1245, 1259 (Fed. Cir. 2014), or improving “the way a computer stores

 and retrieves data in memory,” Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1339 (Fed. Cir.

 2016). For example, in Enfish, the Federal Circuit distinguished the claims from others that “simply

 add[ed] conventional computer components to well-known business practices,” holding instead that

 “they [we]re drawn to a specific improvement to the way computers operate.” Id. at 1336. In

 particular, the unconventional structure of the database resulted in “increased flexibility, faster

 search times, and smaller memory requirements.” Id. at 1337. Unlike Enfish, nothing in the claims

 of the ’365 Patent shows any unconventional methodology that would amount to a “specific

 improvement in the way computers operate.” Id. Therefore, the focus of the ’365 Patents is not “on

 [a] specific asserted improvement in computer capabilities” but instead “on a process that qualifies

 as an ‘abstract idea’ for which computers are invoked merely as a tool.” Id. at 1336. The “focus” of

 Claim 1, instead, is sharing address information:

                 Claim Language                                    Claimed Idea
   1. A method for receiving location
   information at a positional information
   device, the method comprising:
   sending a request from a requesting
   positional information device to a
   server for at least one address stored in
   at least one sending positional
                                                          Requesting address information
   information device, the request
   including a first identifier of the
   requesting positional information
   device;


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   receiving at the requesting positional
   information device, from the server, a
   retrieved at least one address to the
   requesting positional information
   device wherein the server determines a
   second identifier for identifying the at
                                                             Receiving address information
   least one sending positional
   information device based on the
   received first identifier and retrieves
   the requested at least one address
   stored in the identified at least one
   sending positional information device.



            By only claiming the desired result in a functional manner (requesting and receiving address

 information), Claim 1 of the ’365 Patent falls short of claiming eligible subject matter under § 101.

 See Internet Patents, 790 F.3d at 1348; see also Affinity Labs of Tex., LLC v. DIRECTV, LLC, 838

 F.3d 1253, 1258 (Fed. Cir. 2016) (holding that claims were directed to an abstract idea where they

 claimed “the function of wirelessly communicating regional broadcast content to an out-of-region

 recipient, not a particular way of performing that function”). And because the claimed system is to

 be implemented without the use of any specialized hardware or software components, the ’365 Patent

 risks preempting all automated methods or systems for sharing address information. See, e.g., Loyalty

 Conversion Sys. Corp. v. Am. Airlines, Inc., 66 F. Supp. 3d 829, 843 (E.D. Tex. 2014) (finding

 “preemptive effect . . . broad” where “the claims [were] largely functional in nature, they [did] not

 provide any significant description of the particular means by which the various recited functions

 are performed,” and “[a]ll that [was] disclosed [was] the ultimate objective”).


                           (b)     Courts have found similar claims to be directed to patent-
                                   ineligible subject matter.

            Courts have found similar patent claims to be directed to abstract ideas. Recently, the Federal

 Circuit held that “[c]ontrolling access to resources is exactly the sort of process that ‘can be

 performed in the human mind, or by a human using a pen and paper,’ which we have repeatedly

 found unpatentable.” Ericsson Inc. v. TCL Commc'n Tech. Holdings, 955 F.3d 1317, 1327 (Fed. Cir.

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 2020). The claims here are directed to the request and receipt of address information, and are thus

 similar to the claims at issue in Ericsson, in that these are precisely the types of activities that can be

 performed by a human without computers. For instance, a party could call a first friend and ask for

 a second friend’s address. The first friend may retrieve the address, and then provide it the requesting

 party. Because this process can be performed in this fashion, the claims of the ’365 Patent are invalid

 under the same rationale expressed by the Federal Circuit in Ericsson.

            Additionally, the Federal Circuit has held the following claims directed to various acts of

 information or data acquisition and transfer (including, among others, acquiring, analyzing, sending,

 receiving, and publishing data) to be directed to abstract ideas under the Alice test:

               •   Claims directed to collecting information, even when such information is of a

                   particular type. Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed.

                   Cir.2016) (emphasis added).

               •   Claims directed to routing information using result-based functional language. Two-

                   Way Media Ltd. v. Comcast Cable Commc'ns, LLC, 874 F.3d 1329, 1337 (Fed. Cir.

                   2017) (emphasis added);

               •   Claims directed to transmitting information about a mail object over a network

                   using a personalized marking, Secured Mail Solutions LLC v. Universal Wilde, Inc.,

                   873 F.3d 905, 908 (Fed. Cir. 2017) (emphasis added);

               •   A device used for recording a digital image, storing the digital image, and

                   transferring the digital image to a server for further processing, In re TLI Commc’ns,

                   823 F.3d 607, 609 (Fed. Cir. 2016) (emphasis added).

            Furthermore, patents related to location information have been found to be directed to the

 abstract idea of monitoring and communicating information. In Wireless Media Innovations, for

 example, the court invalidated two patents for a system and method of “monitoring locations,

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 movement, and load status of shipping containers within a container-receiving yard, and storing,

 reporting and communicating this information in various forms through generic computer

 functions.” 100 F.Supp.3d 405, 413 (D.N.J. 2015). This was an abstract idea, according to the court,

 because these general monitoring and recording functions “could be carried out by human memory,

 by hand, or by conventional equipment and general purpose computer and printer resources.” Id. at

 415; see also Joao Control & Monitoring Sys., LLC v. Telular Corp., 173 F. Supp. 3d 717, 726, 2017

 WL 1151052 (N.D. Ill. 2016) (claims found to be “directed to the abstract idea of monitoring and

 controlling property and communicating this information through generic computer functions”);

 MacroPoint, LLC v. FourKites, Inc., No. 15–cv–1002, 2015 WL 6870118, at *3 (N.D. Ohio Nov. 6,

 2015), aff’d, 671 Fed. Appx. 780 (“directed to the abstract idea of tracking freight”).

            The idea underlying Claim 1 of the ’365 Patent is just as abstract as those in the Ericsson,

 Two-Way Media and Wireless Media Innovations claims. As explained earlier, Claim 1 describes a

 common human activity that can be performed without a computer or specialized equipment. Claim

 1 does not include any specific limitations or steps regarding a “specific structure” of computer

 components used to carry out the abstract idea of sharing address information. Rather, Claim 1 uses

 results-based functional language like “sending a request from a requesting positional information

 device to a server” and “receiving at the requesting positional information device, from the server, a

 retrieved at least one address”’365 Patent at Cl. 1. Claim 1 is abstract because it does “not sufficiently

 describe how to achieve these results in a non-abstract way.” Two-Way Media, 874 F.3d at 1337

 (holding limitations requiring “sending” and “directing” of information “d[id] not sufficiently

 describe how to achieve these results in a non-abstract way”). Claim 1 cannot be meaningfully

 distinguished from the claims in either Ericsson, Two-Way Media, or Wireless Media Innovations.




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                   2.     Alice Step 2: The claims do not contain an inventive concept amounting
                          to significantly more than the abstract idea.

            Because Claim 1 is directed to an abstract idea, the Court must next determine whether it

 contains an “inventive concept sufficient to transform the claimed abstract idea into a patent eligible

 application.” Alice, 134 S. Ct. at 2357 (internal quotations omitted). To pass this test, Claim 1 “must

 include additional features” that “must be more than well-understood, routine, conventional

 activity.” Ultramercial, 772 F.3d at 715 (quotation omitted). Here, Claim 1 is broadly generic and

 does not contain meaningful limitations that would restrict it to a non-routine, specific application

 of the abstract idea.

            Although the stated goal of the ’365 Patent is to provide “remotely entering, storing and

 sharing location addresses,” ’365 Patent at 2:47-48, not a single technical improvement is disclosed,

 much less claimed. Instead, Claim 1 is described only at a high level, consisting of generic functional

 language like “sending a request” and “receiving . . . at least one address.” And, according to the

 specification, no specialized hardware or software is needed to send and receive address information.

 Id. at 8:23; 12:5.

            While the specification purports to describe the structure of an embedded system capable of

 sharing address information, nothing in either Claim 1 or the specification discloses how the

 “positional information device” must be configured in any manner, much less an inventive one.

 Instead, , the claim limitations simply list generic hardware without any improvement in technology.

 See In re TLI, 87 F. Supp. 3d 773, 794 (holding that a “telephone unit limitation is another example

 of generic hardware which does not save Claim 17 because it is not inventive”) (emphasis added).

 And the specification fares no better, as the invention is described as “a system and method of

 programming GPS units from a link on the Global Computer Network (e.g., the Internet) is also

 provided.” ’365 Patent at 2:49-51. GPS units and the Internet are not novel. See Rothschild Location

 Techs. LLC v. Geotab USA, Inc., No. 6:15-cv-682, 2016 WL 3584195, at *5, 7 (E.D. Tex. Jan. 4,

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 2016) (“A GPS device is a well-known generic computer element insufficient to make otherwise

 patent ineligible subject matter patentable.”). Further details are neither claimed nor disclosed.

            There is simply nothing “inventive” about using known processes (e.g., the Internet and/or

 wireless networks) to retrieve address information. See’365 Patent at 9:38-46 (the invention is

 “described in the context of the GSM mobile telecommunications standard” but may “relate[] to all

 telephone standards including, and not limited to CDMA and US-TDMA”). Moreover, the abstract

 functional descriptions in Claim 1 are devoid of any technical explanation as to how to implement

 the purported invention in an inventive way. See In re TLI, 823 F.3d at 615 (claims failed Alice’s

 step 2 where specification limited its discussion of “additional functionality” of conventional

 components “to abstract functional descriptions devoid of technical explanation as to how to

 implement the invention”). Nothing in Claim 1 requires any inventive algorithm or data structure,

 much less an improved computer component. See Wireless Media Innovations, 100 F. Supp. 3d 405,

 416-417 (“[A]dding a computer to otherwise conventional steps does not make an invention patent-

 eligible. Any transformation from the use of computers or the transfer of content between computers

 is merely what computers do and does not change the analysis.”).

            Courts have repeatedly held that the presence of generic hardware and processing like the

 kind recited in Claim 1 of the ’365 Patent does not make an otherwise abstract idea patent-eligible.

 See, e.g., buySAFE, Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (“That a computer

 receives and sends the information over a network—with no further specification—is not even

 arguably inventive.”); Two-Way Media, 874 F.3d at 1339 (finding no inventive concept when

 “[n]othing in the claims . . . requires anything other than conventional computer and network

 components operating according to their ordinary functions”); Wireless Media Innovations, 100 F.

 Supp. 3d 405, 416 (finding that the asserted claims “are not tied to any particular novel machine or

 apparatus, only a general purpose computer, general communication devices, and general vehicles,”

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 and the “specific system elements . . . merely require generic computer functions that are not

 inventive.”); see also Bancorp, 687 F.3d at 1276-77. In addition, an “abstract idea does not become

 nonabstract by limiting the invention to a particular field of use or technological environment, such

 as [GPS Units].” Intellectual Ventures I LL v. Capital One Bank U.S.A., 792 F.3d 1363, 1366 (Fed.

 Cir. 2015).

            This case is thus unlike Berkheimer, where the Federal Circuit noted that the specification

 explicitly “describe[d] an inventive feature that store[d] parsed data in a purportedly unconventional

 manner.” Berkheimer v. HP Inc., 881 F.3d 1360, 1369 (Fed. Cir. 2018). The Federal Circuit

 examined whether the improvements described in the specification were included in the claims. For

 those claims where the inventive feature in the specification was “captured in the claims,” the Federal

 Circuit found a “factual dispute regarding whether the invention describe[d] well- understood,

 routine, and conventional activities.” Id. But where the claims did not recite the purportedly inventive

 features described in the specification, the Federal Circuit concluded that they were directed to patent

 ineligible subject matter under § 101. Id. Here, in contrast, there is no need for fact discovery at all

 because neither the claims nor the specification describes any unconventional components or the use

 of generic components in some unconventional manner. The claims therefore fail Alice’s second step

 because they contain no inventive features, and no amount of fact discovery can change that.

            The recited limitations—whether considered individually or as an ordered combination—are

 insufficient to add “significantly more” to the abstract idea. Because it is altogether devoid of any

 “inventive concept,” Claim 1 of the ’365 Patent is thus patent-ineligible under § 101. See Alice, 134

 S. Ct. at 2359-60.




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                   3.     The remaining claims are dependent on Claim 1 and are also abstract.

            The remaining claims of the ’365 Patent relate to the same abstract concept of sending and

 receiving information. The only differences are immaterial in the context of a § 101 analysis. For

 example, claim 8 adds only conventional components and broad functional language, for e.g., “a

 location information module for determining location information of the requesting positional

 information device.” Claim 8 is therefore directed to same abstract idea, and there is nothing that

 adds significantly more to transform the ineligible concept. Alice, 134 S. Ct. at 2355-2357. The

 dependent claims relate to (i) identifying information (dependent claims 2, 6, 9, and 13), (ii) type of

 information (dependent claims 3 and 10), and (iii) source and display of information (dependent

 claims 4, 5, 7, 11, 12, 14, and 15). But claiming variations related to the type and source of

 information is not inventive. So too is the claims’ identification of additional generic components—

 particularly because there is no disclosure of how any of the generic components (e.g., telematics

 network) must be configured in any “inventive” manner to accomplish the desired results. See

 Internet Patents, 790 F.3d at 1348.

            None of these additional features amounts to an inventive feature or renders the claims any

 less abstract. Regardless of their form, therefore, all of the claims of the ’365 Patent fail both prongs

 of Alice because they are directed to an abstract idea and recite no inventive concept. Alice, 134 S.

 Ct. at 2355, 2357.

 V.         CONCLUSION

            For the foregoing reasons, Automile respectfully requests that the Court dismiss Social

 Positioning’s Complaint for failure to state a claim upon which relief can be granted. Because leave

 to amend would be futile, Automile requests dismissal with prejudice.




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                                    CERTIFICATE OF SERVICE

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